                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


UNITED STATES OF AMERICA            )
                                    )              DOCKET NO. 3:12-cr-239
         v.                         )
                                    )
                                    )              ORDER
(10) ANN TYSON MITCHELL             )
                                    )
                                    )
____________________________________)

       THIS MATTER is before the Court upon Defendant’s Motion to Adjust Conditions of

Release (Doc. No. 767) and the Government’s Response (Doc. No. 775). The Court will conduct

a hearing on this matter on Tuesday December 2, 2014 at 2 p.m. in Courtroom 3 in the

Charlotte Division.

SO ORDERED.

 Signed: November 20, 2014




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